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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                             )
                                                      )
                       Plaintiff,                     )
                                                      )       8:07CR54
       vs.                                            )
                                                      )       PRELIMINARY ORDER
LUIS HARO-RAMIREZ,                                    )       OF FORFEITURE
JOSE AGUILAR-OCHOA,                                   )
RAMON ORDONEZ-LOPEZ,                                  )
                                                      )
                       Defendants.                    )

       NOW ON THIS 2nd day of April, 2008, this matter comes on before the Court upon the

United States' Motion for Issuance of Preliminary Order of Forfeiture. The Court reviews the record

in this case and, being duly advised in the premises, finds as follows:

       1. The Defendants have entered into Plea Agreements, whereby they have agreed to plead

guilty to Counts I, IV, V, VI and VII of said Indictment. Count I charges the Defendants with one

count of conspiracy to distribute and possessing with intent to distribute methamphetamine, in

violation of 21 U.S.C. § 846. Count IV charges the Defendant, Luis Haro-Ramirez, with one count

of being an illegal alien found in the United States following deportation, in violation of 8 U.S.C.

1326(a). Count V charges the Defendant, Luis Haro-Ramirez, with one count of being a felon in

possession of a firearm, in violation of 18 U.S.C. § 922(g)(1). Count VI of said Indictment sought

the forfeiture, pursuant to 21 U.S.C., § 853, of $44,353.00 in United States currency and a 1998

Chevrolet Blazer on the basis they were used or were intended to be used to facilitate said controlled

substance violation and/or were derived from proceeds obtained directly or indirectly as a result of

the commission of said controlled substance violation. Count VII of said Indictment sought the

forfeiture, pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c), of a Intratec 9mm semi-
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automatic pistol, on the basis it was a firearm involved or used in the knowing commission of the

offense charged in Count IV.

       2. By virtue of said pleas of guilty, the Defendants forfeit their interest in the subject

properties, and the United States should be entitled to possession of said properties, pursuant to

21 U.S.C., § 853, 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(c).

       3. The United States' Motion for Issuance of Preliminary Order of Forfeiture should be

sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The United States' Motion for Issuance of Preliminary Order of Forfeiture is hereby

sustained.

       B. Based upon Counts VI and VII of the Indictment and the Defendants’ pleas of guilty, the

United States is hereby authorized to seize $44,353.00 in United States currency, a 1998 Chevrolet

Blazer and a Intratec 9mm semi-automatic pistol.

       C. The Defendants’ interest in said properties is hereby forfeited to the United States for

disposition in accordance with the law, subject to the provisions of 21 U.S.C., § 853(n)(1).

       D. The aforementioned forfeited properties are to be held by the United States in its secure

custody and control.

       E. Pursuant to 21 U.S.C., § 853(n)(1), the United States forthwith shall publish at least once

for three successive weeks in a newspaper of general circulation, in the county where the subject

properties are situated, notice of this Order, Notice of Publication evidencing the United States’

intent to dispose of the properties in such manner as the Attorney General may direct, and notice that

any person, other than the Defendants, having or claiming a legal interest in any of the subject


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forfeited properties must file a Petition with the court within thirty days of the final publication of

notice or of receipt of actual notice, whichever is earlier.

        F. Said published notice shall state the Petition referred to in Paragraph E., above, shall be

for a hearing to adjudicate the validity of the Petitioner's alleged interest in the properties, shall be

signed by the Petitioner under penalty of perjury, and shall set forth the nature and extent of the

Petitioner's right, title or interest in the subject properties and any additional facts supporting the

Petitioner's claim and the relief sought.

        G. The United States may also, to the extent practicable, provide direct written notice to any

person known to have alleged an interest in the properties subject to this Order as a substitute for

published notice as to those persons so notified.

        H. Upon adjudication of all third-party interests, this Court will enter a Final Order of

Forfeiture pursuant to 21 U.S.C., § 853(n), in which all interests will be addressed.

        ORDERED this 2nd day of April, 2008

                                                BY THE COURT:



                                                s/ Joseph F. Bataillon
                                                JOSEPH F. BATAILLON
                                                United States District Court




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